

Matter of Saunds v  Department of Educ. of the City of N.Y. (2022 NY Slip Op 05967)





Matter of Saunds v  Department of Educ. of the City of N.Y.


2022 NY Slip Op 05967


Decided on October 25, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 25, 2022

Before: Manzanet-Daniels, J.P., Kennedy, Scarpulla, Mendez, Higgitt, JJ. 


Index No. 159650/19 Appeal No. 16530 Case No. 2021-03535 

[*1]In the Matter of Michael Saunds, Petitioner-Appellant,
vThe Department of Education of the City of New York, et al., Respondents-Respondents.


Stewart Lee Karlin Law Group, P.C., New York (Stewart Lee Karlin of counsel), for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Antonella Karlin of counsel), for respondents.



Judgment (denominated an order), Supreme Court, New York County (W. Franc Perry, J.), entered on or about April 6, 2021, to the extent appealed from as limited by the briefs, denying the petition to annul petitioner's unsatisfactory rating (U-rating) for his performance as a per session football coach for the period August 2018 to December 2018 and to direct respondent to expunge the U-rating and reinstate his ability to do per session work and his coach position, and dismissing the proceeding brought pursuant to CPLR article 78, unanimously affirmed, without costs.
The determination by respondent Department of Education of the City of New York to uphold the U-rating was not arbitrary and capricious and was supported by a rational basis, in view of the evidence of, among other things, petitioner's arrest for driving while intoxicated in September 2018, continued alcohol usage on school premises, covering up of misconduct by a football player, and lack of leadership, which led to decline of the football program (see Matter of Pell v Board of Educ. of Union Free School Dist. No. 1 of Towns of Scarsdale &amp; Mamaroneck, Westchester County , 34 NY2d 222, 230-231 [1974]). Petitioner's contention that respondent violated procedure by failing to conduct observations of his performance and provide him with notice of any of the misconduct is unavailing, as the evaluation procedures set forth in Education Law § 3012-c expressly applies to "classroom teachers and building principals," and petitioner has not demonstrated that they apply to per session coaches.
We have considered petitioner's remaining contentions and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 25, 2022








